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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 8, 2022:


       MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
Telephonic status hearing held on 11/8/2022. Defendant appeared on the hearing
telephonically. In−person change of plea hearing set for 12/1/2022 at 2:00 p.m. By
agreement, the Court deems the period of time from 11/8/2022 to 12/1/2022 excludable
under 18 U.S.C. §3161(h)(7)(A) − interest of justice. Mailed notice (cn).




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